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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA


                                                          CASE NUMBER:

CLINTON BROWN
                                          PLAINTIFF(S)        2:22−cv−09203−MEMF−KS

         v.
CLARK R. TAYLOR
                                       DEFENDANT(S).            NOTICE OF JUDGE ASSIGNMENT AND
                                                                 REFERENCE TO A UNITED STATES
                                                                      MAGISTRATE JUDGE



This case has been assigned to the calendar of the Honorable Judge Maame Ewusi−Mensah Frimpong , U. S.
District Judge, and referred to U. S. Magistrate Judge     Karen L. Stevenson , who is authorized to consider
preliminary matters and conduct all further hearings as may be appropriate or necessary. Thereafter, unless the
Magistrate Judge determines that a trial is required, the Magistrate Judge shall prepare and file a report and
recommendation regarding the disposition of this case, which may include proposed findings of fact, conclusions
of law, and proposed written order or judgment, which shall be served on all parties. If the Magistrate Judge
concludes that a trial is required, the Magistrate Judge shall so report to the District Judge.

Pursuant to Local Rule 5-4.1, all subsequent documents in this case must be filed electronically, unless exempted
by Local Rule 5-4.2. Documents exempt from electronic filing pursuant to Local Rule 5-4.2(b), or presented by
filers exempt from electronic filing pursuant to Local Rule 5-4.2(a), must be filed with the Clerk in paper at the
following location:

Western Division
255 East Temple Street, Suite TS-134
Los Angeles, CA 90012

Please note that, pursuant to Local Rule 83-2.5, all matters must be called to the judge’s attention by appropriate
application or motion filed in compliance with the Court’s Local Rules. Parties are not permitted to write letters to
the judge.

Local Rule 83-2.4 requires that the Court must be notified within five (5) days of any address change. If mail
directed by the clerk to your address of record is returned undelivered by the Post Office, and if the Court and
opposing counsel are not notified in writting within five (5) days thereafter of your current address, the Court may
dismiss the petition, with or without prejudice, for want of prosecution.


                                                         Clerk, U.S. District Court

 December 20, 2022                                       By /s/ Geneva Hunt
Date                                                       Deputy Clerk


                                      NOTICE TO COUNSEL / PRO SE LITIGANT

           The party who filed the case-initiating document in this case must serve a copy of this Notice
                            on all parties it serves with the case-initiating document.

CV−25 (12/22)         NOTICE OF JUDGE ASSIGNMENT AND REFERENCE TO A UNITED STATES MAGISTRATE JUDGE
